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                          UNITED STATES COURT OF APPEALS
                               FOR THE SIXTH CIRCUIT
                              100 EAST FIFTH STREET, ROOM 540
   Leonard Green             POTTER STEWART U.S. COURTHOUSE                 Tel. (513) 564-7000
       Clerk                     CINCINNATI, OHIO 45202-3988               www.ca6.uscourts.gov




                                                Filed: October 24, 2011




Mr. John S. Pallas
Office of the Michigan Attorney General
Appellate Division
P.O. Box 30217
Lansing, MI 48909

Van Chester Thompkins Jr.
Lakeland Correctional Facility
141 First Street
Coldwater, MI 49036

                   Re: Case No. 11-1583, Van Thompkins, Jr. v. Mary Berghuis
                       Originating Case No. : 05-70188

Dear Sir or Madam,

   The Court issued the enclosed Order today in this case.

                                                Sincerely yours,

                                                s/Florence P. Ebert
                                                Case Manager
                                                Direct Dial No. 513-564-7026

cc: Mr. David J. Weaver

Enclosure
